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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

                                                    §
BETH CHANEY MACNEILL,                               §
                                                    §
        Plaintiff,                                  §
                                                    §
v.                                                  §
                                                             Civil Action No. 4:14-cv-242-O
                                                    §
NIRMAL JAYASEELAN M.D. et al.,                      §
                                                    §
        Defendants.                                 §
                                                    §

                                               ORDER

        Before the Court are Defendant Domingo K. Tan M.D.’s (“Tan”) Rule 12(b)(6) Motion to

Dismiss and Brief in Support (ECF No. 29), filed May 27, 2014; Plaintiff’s Response (ECF No. 42),

filed June 17, 2014; Defendant EmCare Inc.’s (“EmCare”) Amended Answer1 (ECF No. 33), filed

June 4, 2014; Plaintiff’s Response (ECF No. 46), filed June 24, 2014; Defendant Chad Carlton,

M.D.’s (“Carlton”) Amended Rule 12(b)(6) Motion to Dismiss and Brief in Support (ECF Nos. 34-

35), filed June 5, 2014; Plaintiff’s Response (ECF No. 45), filed June 23, 2014; Defendant Baylor

All Saints Medical Center at Fort Worth’s (“Baylor”) Amended Rule 12(b)(6) Motion to Dismiss

and Brief in Support (ECF Nos. 36-37), filed June 5, 2014; Plaintiff’s Response (ECF No. 50), filed

June 26, 2014; Defendant Emergency Medicine Consultants, Ltd.’s (“EMC”) Amended Rule

12(b)(6) Motion to Dismiss and Brief in Support (ECF Nos. 40-41), filed June 5, 2014; and




        1
            EmCare filed its Motion to Dismiss within its Amended Answer.
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Plaintiff’s Response (ECF No. 48), filed June 24, 2014.2 Having reviewed the motions, the Court

finds that they should be and are hereby GRANTED in part and DENIED in part.

I.      BACKGROUND

        This suit arises out of an outpatient surgery performed by Defendant Nirmal Jayaseelan, M.D.

on Plaintiff on April 27, 2012. Pl.’s Am. Compl. ¶ 4.1, ECF No. 22. The next day, Plaintiff sought

treatment at the Texas Health Harris Methodist Hospital Fort Worth Emergency Department

(“THHMH”) for “complaints of severe abdominal pain.” Id. at ¶ 4.2. The Hospital performed an

imaging study of Plaintiff’s abdomen, which produced evidence of a surgical perforation. Id. at ¶

4.4. Plaintiff was discharged the same day. Id.

        On April 29, 2012, Plaintiff was transported by ambulance to the Baylor All Saints Medical

Center at Fort Worth Emergency Department. Id. at ¶ 4.5. An emergency physician performed an

examination and requested a surgical consultation from general surgeon Defendant Tan. Id. at ¶ 4.8.

Tan “recognized the probability of a gastric leak and prepared [Plaintiff] for operative exploration.”

Id. Tan further sought a bariatric consultation from Defendant Carlton. Id. Carlton determined that

Plaintiff was septic and “initiated efforts to transfer [Plaintiff] to Dr. Jayaseelan.” Id. Because Dr.

Jayaseelan was not on duty on April 29, and because the covering doctor refused to accept Plaintiff’s

transfer, Plaintiff was not transferred back to Dr. Jayaseelan’s care until April 30, 2012. Id. at ¶¶ 4.9-

10.




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           More fully before the Court are Defendant Carlton’s Motion to Dismiss (ECF No. 5), filed May
2, 2014; Defendant Baylor’s Motion to Dismiss (ECF No. 7), filed May 2, 2014; and Defendant EMC’s
Motion to Dismiss and Brief in Support (ECF Nos. 14-15), filed May 6, 2014. Because these defendants
later filed amended motions to dismiss, their original motions are DENIED as moot.

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         Plaintiff filed suit on April 8, 2014. See Pl.’s Compl., ECF No. 1. Plaintiff filed her First

Amended Complaint, the live pleading, on May 21, 2014 (ECF No. 22). Against Defendants Tan

and Carlton, Plaintiff asserts medical negligence claims. Pl.’s Am. Compl. ¶¶ 11.0-12.5, ECF No.

22. Against Defendants Baylor, EmCare, and EMC, Plaintiff asserts violations of the Emergency

Medical Treatment and Labor Act (“EMTALA”) and medical negligence claims. Id. at ¶¶ 8.0-9.8.

Defendants Tan, Carlton, Baylor, EmCare, and EMC subsequently filed their motions to dismiss

pursuant to Federal Rule of Civil Procedure 12(b)(6).

II.      LEGAL STANDARD

         A defendant may file a motion to dismiss a complaint under Federal Rule of Civil Procedure

12(b)(6) for “failure to state a claim upon which relief may be granted.” Fed. R. Civ. P. 12(b)(6).

To defeat a motion to dismiss pursuant to Rule 12(b)(6), a plaintiff must plead “enough facts to state

a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007).

“A claim has facial plausibility when the plaintiff pleads factual content that allows the court to draw

the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 663 (2009) (citing Twombly, 550 U.S. at 556). “The plausibility standard is not akin

to a ‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. (quoting Twombly, 550 U.S. at 556). “Where a complaint pleads facts that are

‘merely consistent with’ a defendant’s liability, it ‘stops short of the line between possibility and

plausibility of entitlement to relief.’” Id. (quoting Twombly, 550 U.S. at 557).

         In reviewing a Rule 12(b)(6) motion, the Court must accept all well-pleaded facts in the

complaint as true and view them in the light most favorable to the plaintiff. Sonnier v. State Farm

Mut. Auto. Ins. Co., 509 F.3d 673, 675 (5th Cir. 2007). The Court is not bound to accept legal


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conclusions as true, and only a complaint that states a plausible claim for relief survives a motion

to dismiss. Iqbal, 556 U.S. at 678-79. When there are well-pleaded factual allegations, the Court

assumes their veracity and then determines whether they plausibly give rise to an entitlement to

relief. Id.

        “When a complaint fails to adequately state a claim, such deficiency should be ‘exposed at

the point of minimum expenditure of time and money by the parties and the court.’” Prewitt v. Cont’l

Auto., 927 F. Supp. 2d 435, 443 (W.D. Tex. 2013) (quoting Twombly, 550 U.S. at 558). Courts

should, however, give the plaintiff at least one chance to amend a complaint before dismissing the

action with prejudice. Id. (citing Great Plains Trust Co. v. Morgan Stanley Dean Witter & Co., 313

F.3d 305, 329 (5th Cir. 2002)). The Court addresses each defendant’s motion in turn.

III.    ANALYSIS

        A.     Defendant Tan’s Motion

        In her Amended Complaint, Plaintiff alleges that Tan is individually liable for negligence.

Pl.’s Am. Compl. ¶ 11.0, ECF No. 22. To establish a claim for negligence, a plaintiff must establish

that “(1) the defendant owed her a legal duty, (2) the defendant breached that duty, and (3) the breach

proximately caused the plaintiff’s injuries.” Nabors Drilling, U.S.A., Inc. v. Escoto, 288 S.W.3d

401, 404 (Tex. 2009). Tan contends that Section 74.153 of the Texas Civil Practice and Remedies

Code guides Plaintiff’s theory of recovery because Tan was “providing emergency medical care to

the Plaintiff at the time of his treatment made the basis of this suit.” Tan’s Br. Supp. Mot. Dismiss

4, ECF No. 29-1. Section 74.153 provides:

        In a suit involving a health care liability claim against a physician or health care
        provider for injury to or death of a patient arising out of the provision of emergency
        medical care in a hospital emergency department . . . the claimant bringing the suit


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        may prove that the treatment or lack of treatment by the physician or health care
        provider departed from accepted standards of medical care or health care only if the
        claimant shows by a preponderance of the evidence that the physician or health care
        provider, with wilful and wanton negligence, deviated from the degree of care and
        skill that is reasonably expected of an ordinarily prudent physician or health care
        provider in the same or similar circumstances.

Tex. Civ. Prac. & Rem. Code Ann. § 74.153 (West 2013). In response, Plaintiff states she “should

be entitled to discover and determine the factual context of Defendant Tan’s acts and/or omissions.”

Pl.’s Resp. 5, ECF No. 42. However, a statement that discovery will reveal information to support

a claim is insufficient in the face of a complaint lacking the requisite specificity. See Twombly, 550

U.S. at 558, 560 (noting courts must take care to require sufficient allegations before permitting

discovery). Here, Plaintiff did not include allegations of willful or wanton negligence against Tan.

See generally Pl.’s Am. Compl., ECF No. 22. Additionally, even if Section 74.153 did not apply

to Plaintiff’s claim, Plaintiff wholly failed to allege facts supporting the elements of negligence. See

generally id. Unadorned formulaic recitations or assertions of elements of a cause of action do not

plead facts sufficient to overcome a motion to dismiss. See Iqbal, 556 U.S. at 678. As a result, the

Court finds that Plaintiff failed to state a plausible claim for relief against Defendant Tan.

        B.      Defendant Carlton’s Motion

        Plaintiff asserts that Carlton is individually liable for negligence. Pl.’s Am. Compl. ¶ 12.0,

ECF No. 22. In response, Carlton argues that he is entitled to dismissal of Plaintiff’s claims against

him because “EMTALA only imposes liability on covered hospitals for certain acts of hospital staff

physicians, nurses and other personnel.” Carlton’s Br. Supp. Am. Mot. Dismiss 3, ECF No. 35.

While it is true that EMTALA, “[b]y its terms, . . . is not available against physicians or physician

assistants,” Plaintiff does not use this statute to support her negligence claim. Dysart v. Selvaggi,



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159 F. Supp. 2d 387, 390 (N.D. Tex. Mar. 30, 2001); Pl.’s Am. Compl. ¶¶ 12.0-12.5, ECF No. 22.

Carlton failed to address Plaintiff’s negligence claim separately from EMTALA. As a result, the

Court denies Carlton’s motion on this claim.

       C.      Defendant Baylor’s Motion

       Plaintiff alleges that Baylor “by and through its agents, servants or employees, either (a) did

not adequately screen [Plaintiff] to determine whether or not she had an emergency medical

condition or (b) had actual knowledge of the emergency medical condition and did not stabilize her

before transfer.” Pl.’s Am. Compl. ¶ 9.2, ECF No. 22. In the alternative, Plaintiff alleges that Baylor

“by and through its agents, servants or employees” was negligent. Id. at ¶¶ 9.4-.7. Baylor challenges

Plaintiff’s allegations that it violated the screening and stabilizing provisions of EMTALA.

               1.      Medical Screening

       Section 1395dd(a) provides that “if any individual . . . comes to the emergency department

and a request is made on the individual’s behalf for examination or treatment for a medical

condition, the hospital must provide for an appropriate medical screening examination within the

capability of the hospital’s emergency department . . . to determine whether or not an emergency

medical condition . . . exists.” 42 U.S.C. § 1395dd(a). EMTALA was enacted to prevent “patient

dumping,” and was not intended to be used as a federal malpractice suit. Marshall on Behalf of

Marshall v. E. Carroll Parish Hosp. Serv. Dist., 134 F.3d 319, 322 (5th Cir. 1998). “[A]n EMTALA

‘appropriate medical screening examination’ is not judged by its proficiency in accurately diagnosing

the patient’s illness, but rather by whether it was performed equitably in comparison to other patients

with similar symptoms.” Id. at 322. If a hospital performed an appropriate medical screening

examination, the hospital “is not liable under EMTALA even if the physician who performed the


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examination made a misdiagnosis that could subject him and his employer to liability in a medical

malpractice action brought under state law.” Id. In her Amended Complaint, Plaintiff alleges that

she was first examined by a physician, then examined by a general surgeon. The general surgeon then

sought a bariatric consultation from another doctor. It was determined that Plaintiff was septic, and

efforts were made to transfer Plaintiff to her original surgeon. The purpose of the medical

examination screening is “to determine whether an ‘emergency medical condition exists.’ Nothing

more, nothing less.” Guzman v. Mem’l Hermann Hosp. Sys., 637 F. Supp. 2d 464, 482 (S.D. Tex.

2009) (citing Collins v. DePaul Hosp., 963 F.2d 303, 307 (10th Cir. 1992)). Plaintiff’s own

allegations that she was examined by three separate doctors negate a finding of plausibility that

Baylor failed to perform an appropriate medical screening examination as defined within the statute.

As a result, the Court finds that Plaintiff failed to state a plausible claim for inadequate screening

under EMTALA against Baylor.

               2.      Failure to Stabilize

       Once a hospital determines that a patient has an emergency medical condition, the hospital

must “provide . . . for transfer of the individual to another medical facility.” 42 U.S.C. §

1395dd(b)(1)(B). Section 1395dd(c) requires that an individual must be stabilized before the

individual is transferred to a different facility unless certain conditions are met. See generally id.

at § 1395dd(c). An individual is stabilized when the hospital “provide[s] such medical treatment of

the condition as may be necessary to assure, within reasonable medical probability, that no material

deterioration of the condition is likely to result from or occur during the transfer of the individual

from a facility.” Id. at § 1395dd(e)(3)(B). Plaintiff alleges that Baylor did not “perform emergency

surgery to repair the perforation” from her previous surgery. Pl.’s Am. Compl. ¶¶ 4.8-.12, ECF No.


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22; Pl.’s Resp. Baylor’s Mot. Dismiss 7-8, ECF No. 50. Plaintiff further alleges that her “medical

condition deteriorated while she waited to be transferred.” Id. at ¶ 4.11. Plaintiff fails to state a

plausible claim because “EMTALA requires only that a hospital stabilize an individual’s emergency

medical condition; it does not require a hospital to cure the condition.” Green v. Touro Infirmary,

992 F.2d 537, 539 (5th Cir. 1993). Additionally, Plaintiff’s conclusory statement that her condition

“deteriorated” is alone insufficient to support a finding that she was not adequately stabilized. See

Iqbal, 556 U.S. at 678 (“Unadorned formulaic recitations or assertions of elements of a cause of

action do not plead facts sufficient to overcome a motion to dismiss.”). The Court finds that Plaintiff

failed to state a plausible claim for failure to stabilize under EMTALA against Baylor.

       D.      Defendant EMC’s Motion

       In her Amended Complaint, Plaintiff appears to allege an EMTALA claim and a negligence

claim against EMC by stating the following:

       Pleading hypothetically and in the alternative, pursuant to FRCP 8(d)(2), if this is not
       an EMTALA violation and if the acts or omissions of [EMC] are not imputed to
       [THHMH] then [EMC] was an express or ostensible agent of [THHMH], and
       [EMC], by and through its agents and/or employees, committed one or more of the
       following acts and/or omissions of negligence . . . .

Pl.’s Am. Compl. ¶ 8.0, ECF No. 22. EMC challenges the plausibility of each claim.

               1.      EMTALA

       EMTALA creates a private right of action for individuals who suffer injury as a result of a

“participating hospital’s” violation of the statute. 42 U.S.C. § 1395dd(d)(2)(A). EMC contends that

Plaintiff’s “Complaint is devoid of any allegations giving rise to a plausible inference that Defendant

was, or is, a participating hospital as is required under EMTALA.” EMC’s Am. Mot. Dismiss 4,

ECF No. 41. In response, Plaintiff concedes that there is no cause of action against EMC under


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EMTALA.3 Pl.’s Resp. EMC’s Am. Mot. Dismiss 4, ECF No. 48. As a result, the Court finds that

Plaintiff failed to state a plausible claim for relief under EMTALA against EMC.

                2.      Negligence

           To establish a claim for negligence, a plaintiff must establish that “(1) the defendant owed

her a legal duty, (2) the defendant breached that duty, and (3) the breach proximately caused the

plaintiff’s injuries.” Nabors Drilling, U.S.A., Inc., 288 S.W.3d at 404. EMC contends that Plaintiff

only provided conclusory statements regarding EMC’s alleged acts that failed to show a plausible

right to relief. EMC’s Am. Mot. Dismiss 4-5, ECF No. 41. In response Plaintiff summarily argues

that “Plaintiff has alleged alternative theories of negligence” and “[d]ismissal of Plaintiff’s

alternative theories would violate the ‘liberal policy of Rule 8(d)(2).’” Pl.’s Resp. EMC’s Am. Mot.

Dismiss 4, ECF No. 48. In her Motion, Plaintiff alleges that (1) EMC “failed to properly evaluate,

diagnose and treat [Plaintiff’s] condition;” (2) EMC “failed to recognize that [Plaintiff’s] condition

was emergent;” and (3) EMC “discharged [Plaintiff] with an emergency medical condition.” Pl.’s

Am. Compl. ¶¶ 8.1-.3, ECF No. 22. The Court finds that these facts alone fail to establish a

plausible claim for relief for negligence. See Iqbal, 556 U.S. at 678 (“Unadorned formulaic

recitations or assertions of elements of a cause of action do not plead facts sufficient to overcome

a motion to dismiss.”).

       E.       Defendant EmCare’s Motion

       In her Amended Complaint, Plaintiff appears to allege an EMTALA claim and a negligence

claim against EmCare by stating the following:


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          Plaintiff further argues that EMC’s actions are imputed to THHMH such that THHMH violated
EMTALA. Pl.’s Resp. EMC’s Am. Mot. Dismiss 4, ECF No. 48. This argument does not change the fact
that Plaintiff failed to state a plausible claim for relief against EMC under EMTALA.

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       Pleading hypothetically and in the alternative, pursuant to FRCP 8(d)(2), if this is not
       an EMTALA violation and if the acts or omissions of [EmCare] are not imputed to
       [Baylor] then [EmCare] was an express or ostensible agent of [Baylor], and
       [EmCare], by and through its agents and/or employees, committed one or more of
       the following acts and/or omissions of negligence . . . .

Pl.’s Am. Compl. ¶ 10.0, ECF No. 22. EmCare challenges the plausibility of each claim.

               1.      EMTALA

       In its Answer, EmCare contends that it “does not engage in the practice of medicine and has

no vicarious liability for the care and treatment rendered to Plaintiff.” EmCare’s Answer Pl.’s Am.

Compl. ¶ 21, ECF No. 33. EmCare further maintains that it “does not have an EMS contract with

Baylor.” Id. at ¶ 22. A motion to dismiss for failure to state a claim admits the facts alleged in the

complaint but challenges the plaintiff’s right to any relief based on those facts. Crowe v. Henry, 43

F.3d 198, 203 (5th Cir. 1995). Here, EmCare refutes all of Plaintiff’s factual allegations regarding

her EMTALA claim in its Motion to Dismiss. Accordingly, the Court denies EmCare’s motion on

this claim.

               2.      Negligence

       To establish a claim for negligence, a plaintiff must establish that “(1) the defendant owed

her a legal duty, (2) the defendant breached that duty, and (3) the breach proximately caused the

plaintiff’s injuries.” Nabors Drilling, U.S.A., Inc., 288 S.W.3d at 404. EmCare contends that

Plaintiff failed to establish a plausible claim because she “does not set forth in the allegations upon

what basis [EmCare] would have a duty to perform the acts or omissions alleged.” EmCare’s

Answer Pl.’s Am. Compl. ¶ 21, ECF No. 33. In her Amended Complaint, Plaintiff alleges that

EmCare was negligent by (1) failing to “properly evaluate, diagnose, and treat [Plaintiff’s]

condition;” (2) failing to “recognize that [Plaintiff’s] medical condition was emergent;” and (3)


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transferring Plaintiff with an emergency medical condition. Pl.’s Am. Compl. ¶¶ 10.1-.3, ECF No.

22. The Court finds that these allegations alone fail to establish facts that set forth a plausible claim

for negligence. See Iqbal, 556 U.S. at 678 (“Unadorned formulaic recitations or assertions of

elements of a cause of action do not plead facts sufficient to overcome a motion to dismiss.”).

IV.     CONCLUSION

        For the foregoing reasons, the Court:

        •       GRANTS Defendant Tan’s Motion to Dismiss (ECF No. 29); Plaintiff’s negligence

                claim against Tan is DISMISSED;

        •       DENIES Defendant Carlton’s Amended Motion to Dismiss (ECF No. 34);

        •       GRANTS Defendant Baylor’s Amended Motion to Dismiss (ECF No. 36);

                Plaintiff’s EMTALA claim against Baylor is DISMISSED;

        •       GRANTS Defendant EMC’s Amended Motion to Dismiss (ECF No. 40); Plaintiff’s

                EMTALA claim against EMC is DISMISSED and Plaintiff’s negligence claim

                against EMC is DISMISSED; and

        •       GRANTS in part and DENIES in part Defendant EmCare’s Amended Motion to

                Dismiss (ECF No. 33). The Motion is denied in regards to Plaintiff’s EMTALA

                claim and granted in regards to Plaintiff’s negligence claim. Plaintiff’s negligence

                claim is DISMISSED.

        If Plaintiff wishes to amend her Amended Complaint to cure these deficiencies, she may do

so by filing an amended complaint on or before October 15, 2014. Otherwise, the Court will dismiss

all of Plaintiff’s aforementioned claims with prejudice.




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    SO ORDERED on this 8th day of October, 2014.



                                    _____________________________________
                                    Reed O’Connor
                                    UNITED STATES DISTRICT JUDGE




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